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DETROIT POLICE DEPARTMENT CRIME
. RE PO RT DETROIT POLICE DEPARTMENT
Case No. 1403210278
Report No. 1403210278.2
Report Date: 3/24/2014
Page 1 of 3
Subject! 94-GA-4918-Search Warrant
Case Report Status =|. JN PROCESS Dale Entered 3/24/2014 8:47:38 PM Reporting Officer
County §2 - WAYNE Entered By 234398 - MCKAY, REBECCA 234398 - MCKAY, REBECCA
CityfFownship 95 - DEARBORN Dale Varified
- Verlfled By Assisted By
Occurred On 3/21/2014 10:00:00 AM Date Approved 235858 - BARMORE,
CRYSTAL
231031 - BELL, TOMMY
232996 - CHAPA, JAVIER
236186 - ZBERKOT,
THOMAS
(and Between) , Approved By
Location §=6§. § 4 22° WW. FORT ‘Connacting Cases Asalst Agency
C82 DETROIT, MI 48201 Disposition ACTIVE GSX SPECIAL AGENT LUIS
ORTIZ; DEARBORN PD CAR
4, DTE CORPORATE
INVESTIGATOR DEREK
HASSAN
CensusiGeo Code 5237 Tactical Actions
Grid SWY7 -0207 Clearance Reason
Call Source Date of Clearanca
: Reporting Agency DETROIT POLICE DEPARTMENT
Vehicle Activity Division = DETROIT POLICE DEPARTMENT
Vehicle Traveting Notified
Cross Street
Meana
Other Means
Molive
Other Motives
Report Narrative WICKAY S397 BELL 1602 4918

A: NONE
S: INSPECTION AND SEARCH WARRANT.EXECUTION

€: ON MARCH 17, 2014 [, DETROIT POLICE SERGEANT REBECCA MCKAY RECEIVED A CALL FROM A PERSON WHO
WISHED TO REMAIN ANONYMOUS. THE TIPSTER WANTED TO REPORT ILLEGAL ACTIVITY THAT WAS OCCURRING AT
SOUTHWEST METALS LOCATED AT 8122 W FORT STREET. | ARRANGED A MEETING WITH THE TIPSTER AND | OBTAINED
A SIX PAGE STATEMENT FROM THE TIPSTER ON THE SAME DAY DOCUMENTING THE TIPSTERS INFORMATION. THE
TIPSTER POINTED OUT 1330 INDUSTRIAL, DEARBORN, A SCRAP PROCESSING LOCATION DURING THE INTERVIEW, THE
TIPSTER INDICATED THAT JOE FAWAZ (OWNER OF SOUTHWEST METALS) USES THAT LOCATION TO PROCESS COPPER
WIRE WITHOUT TAGGING AND HOLDING AND THAT THE TIPSTER HAD RECENTLY WORKED AT THE WAREHOUSE AND
PROCESSED 4/0 AND UNDERGROUND COPPER WIRE THAT WAS REPRESENTED IN THEFT ALERTS ISSUED. THE
TIPSTER INDICATED THAT THE WIRE IS PURCHASED AT 8122 W. FORT ST AND MOVED TO 1330 INDUSTRIAL
THROUGHOUT THE WORK DAY.

OVER THE NEXT SEVERAL DAYS MEMBERS OF THE GENERAL ASSIGNMENT UNIT CONDUCTED SURVEILLANCE AT 1330
INDUSTRIAL AND OBSERVED SEVERAL VEHICLES ARRIVE AT DIFFERENT TIMES DELIVERING MATERIALS. AT LEAST
ONE OF THE VEHICLES, A BLACK DODGE DURANGO, WAS REGISTERED TO SOUTHWEST METALS INC., AT 8122 W. FORT
STREET. ANOTHER, A BLACK LINCOLN NAVIGATOR, REGISTERED TO SARAH FAWAZ AT 7 SHADY HOLLOW, DEARBORN
(POSSIBLY JOE FAWAZ' WIFE AS THE ADDRESS IS LAST KNOWN AS FAWAZ' HOME ADDRESS) WAS ALSO OBSERVED
AT THE LOCATION. THE OFFICERS ALSO OBSERVED WHAT APPEARED TO BE SOME TYPE OF METALS STICKING OUT
OF LARGE WOODEN OR CARD BOARD BOXES (LARGE CARD BOARD BOXES ARE USED IN THE INDUSTRY TO STORE
AND MOVE METALS) INSIDE THE WAREHOUSE AND IN THE YARD. THE YARD ALSO CONTAINED HEAVY EQUIPMENT,
COMMONLY USED IN THE SCRAP RECYCLING INDUSTRY.

ON MARCH 20, 2014, | CONTACTED THE CITY OF DEARBORN AND SPOKE TO COURTNEY ASKORA AT THE TREASURERS
OFFICER WHO INDICATED THAT 1330 INDUSTRIAL HAD NO BUSINESS LIGENSE AND WAS REGISTERED UNDER THE
NAME OF STEVEN FAWAZ (STEVEN FAWAZ HOLDS THE BUSINESS LICENSE AT 8122 W. FORT ST}. | SPOKE TO
ANTHONY GIAZAGLIA AT THE CITIES ASSESSORS OFFIGE WHO INDICATED THAT IN JUNE 2012, 1330 INDUSTRIAL
OBTAINED A CERTIFICATE OF OCCUPANCY AS INDUSTRIAL RECYCLING. ] SPOKE TO LISA WHITE AT COMMERCIAL
CERTIFICATE OF OCCUPANCY WHO INDICATED THAT ALL INSPECTIONS HAD BEEN COMPLETED AT THE LOCATION
AND THE CITIES CLERK'S OFFICE WOULD BE ABLE TO TELL ME WHY A BUSINESS LICENSE WAS NOT ISSUED. | SPOKE
TO STEVE GERHART AT THE CLERKS OFFICE WHO INDICATED THAT THE CITY OF DEARBORN DOES NOT ISSUE
LICENSES TO THE TYPE OF BUSINESS INDUSTRIAL RECYCLING WAS CLAIMING THEY WERE.

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DETROIT POLICE DEPARTMENT CRIME
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ON MARCH 21, 2014 | APPLIED FOR A CONTINGENT SEARCH WARRANT. THE SEARCH WARRANT WAS CONTINGENT ON
THE FINDINGS AT MY UNANNOUNCED SCRAP YARD INSPECTION PLANNED FOR THE SAME DAY AT 8122 W. FORT
STREET, SOUTHWEST METALS. DETROIT POLICE SERGEANT CHAPA, DETROIT POLICE OFFICER BARMORE AND
OFFICER ZBERKOT WERE SET UP ON SURVEILLANCE WATCHING 1330 INDUSTRIAL WHILE | OBTAINED THE SEARCH
WARRANT. WHILE AT THE WCPO | RECEIVED UPDATES ON THE ACTIVITIES AT 1330 INDUSTRIAL AND RECEIVED
INFORMATION FROM INVESTIGATOR DEREK HASSAN WHO ADVISED ME THAT A THEFT OF OVERHEAD COPPER WIRE
HAD OCCURRED OVER NIGHT. | UPDATED THE SEARCH WARRANT ACCORDINGLY. IN ADDITION, | RECEIVED
INFORMATION THAT A SEMI TRUCK WAS BEING LOADED UP AT 1330 INDUSTRIAL.

MYSELF, AND DETROIT POLICE OFFICER TOMMY BELL, PROCEEDED TO 8122 W. FORT STREET TO CONDUCT THE
INSPECTION. | INTRODUCED MYSELF TO GREGORY ASLINGER, WHO ADVISED ME HE WAS THE MANAGER OF
SOUTHWEST METALS. | BEGAN BY SENDING OFFICER BELL TO THE CASHIERS OFFICE TO PULL RECEIPTS AND |
REQUESTED TO REVIEW VIDEO (IN AN EFFORT TO CO-OBERATE WHAT THE TIPSTER HAD TOLD ME), OFFICER BELL
PULLED SIX RECEIPTS AND REVIEWED THEM WHILE | SPOKE TO MICHAEL YAZBACK AND SHOWED HIM A SAMPLE OF
THE 4/0 COPPER WIRE REPORTED STOLEN BY DTE ENERGY. | ASKED HIM, "HAVE YOU PURCHASED ANY OF THIS WIRE
IN THE PAST 10 DAYS?" YAZBACK GLANCED AT THE SAMPLE IN MY HAND, WOULD NOT MAKE EYE CONTACT WITH ME
AND SAID, "| DON'T REMEMBER.” | THEN ASKED YAZBACK TO PULL UP VIDEO FOR MARCH 14, 2014 AT
APPROXIMATELY 114M. YAZBACK MADE SEVERAL ATTEMPTS AND WAS NOT ABLE. | ADVISED YAZBACK TO GET
SOMEONE WHO WAS ABLE TO OPERATE THE SYSTEM OR ARRESTS WOULD BE MADE FOR NONCOMPLIANCE.
YAZBACK THEN CALLED JOE FAWAZ WHO ARRIVED AT THE LOCATION SHORTLY THEREAFTER. FAWAZ ENTERED A
SECURITY CODE INTO THE SYSTEM AND CALLED ANOTHER EMPLOYEE OVER SHOWING THAT EMPLOYEE HOW TO
OPERATE THE SYSTEM. FAWAZ THEN PROMPTLY LEFT THE LOCATION. WHILE THE EMPLOYEE PULLED UP THE VIDEO
REQUEST, | WALKED AROUND THE WAREHOUSE TO LOOK AROUND. AT THE NORTHEAST CORNER OF THE
WAREHOUSE, SITTING ON A WORKBENCH, | OBSERVED A PIECE OF THE UNDERGROUND COPPER CABLE DESCRIBED
IN SEVERAL THEFT ALERTS ISSUED AND STOLEN FROM CITY OF DETROIT PUBLIC LIGHTING DEPARTMENT (THE CABLE
WAS APPROXIMATELY 6" iN LENGTH). [ LOOKED FURTHER AND NOTICED WHAT APPEARED TO BE 4/0 COPPER WIRE
COVERED IN OILY PAPER. | OBSERVED TWO STRANDS ABOUT 12" IN LENGTH. | PHOTOGRAPHED THE MATERIAL, AS |
WAS UNCERTAIN AT THE TIME IF IT WAS CONSISTENT WITH THE DTE ENERGY MATERIAL (DUE TO THE OILY PAPER). |
LATER LEARNED THAT IT WAS CONSISTENT WITH ONE OF THE OVERHEAD COPPER CABLE CUTS DTE ENERGY
SUFFERED. THE WORKBENCH APPEARED TO HAVE BEEN UTILIZED RECENTLY AS THE MATERIAL LEFT ON THE BENCH
WAS FRESH AND FREE OF DUST. WHEN 1 SHOWED THE 4/0 AND UNDERGROUND CABLE TO GREGORY ASLINGER, HE
SAID, "WHERE DID YOU FIND THAT? THAT MUST HAVE COME IN BEFORE I STARTED WORKING HERE!" ASLINGER
WOULD THEN LEAVE THE AREA AND RETURN A SHORT TIME LATER WITH A CLIPBOARD. THE THEFT ALERT FOR THE
UNDERGROUND CABLE WAS ON THAT CLIPBOARD. THE UNDERGROUND CABLE WAS SEIZED AND LATER PLACED ON
EVIDENCE. | PHOTOGRAPHED THE PAPER COVERED 4/0 COPPER WIRE AND LEFT IT AT THE LOCATION. | ADVISED THE

SURVEILLANCE CREW OF THE DISCOVERY AND DIRECTED THEM TO SECURE 1330 INDUSTRIAL UNTIL MY ARRIVAL. I

WAS ADVISED THAT THE SEMI TRUCK HAD LEFT THE LOCATION WITHIN ONE MINUTE OF MY ARRIVAL AT 8122 W. FORT
STREET. THE SEMI HAD BEEN STOPPED AT WYOMING AND MARVIN AND A LARGE AMOUNT OF 4/0 COPPER WIRE WAS
DISCOVERED INSIDE THE TRAILER. THE TRAILER WAS SEIZED AND PLACED ON EVIDENCE.

| BEGAN REVIEWING VIDEO AND AT APPROXIMATELY 12:26PM ON MARCH 14, 2014, AN UNKNOWN PERSON IS SEEN
PUSHING A CART OF WHAT IS CONSISTENT WITH THE 4/0 COPPER WIRE THAT HAD BEEN REPORTED STOLEN THE
SAME MORNING BY DTE ENERGY AND CONSISTENT WITH THE INFORMATION GIVEN BY THE Cl ON MARCH 17, 2014, THE
COPPER IS RECEIVED, INSPECTED AND WEIGHED UP BY SCOTT SCHILLAIR {SCALE OPERATOR). THE COPPER IS
PUSHED TOWARD THE TAG AND HOLD BIN AND LATER AN EMPLOYEE (NOT SCHLLIAR) BEGINS UNLOADING THE
COPPER WIRE INTO THE TAG AND HOLD BIN. BEFORE THIS EMPLOYEE CAN FINISH, HE IS STOPPED BY MICHAEL
YAZBACK AND SCOTT SCHILLIAR. WHEN THE TWO WALK AWAY, THE EMPLOYEE BEGINS TAKING THE COPPER WIRE
BACK OUT OF THE TAG AND HOLD BIN, LOADING IT BACK INTO THE CART. WHEN HE IS FINISHED, HE PUSHES THE
CART TOWARD THE NORTH SIDE OF THE BUILDING (WHERE A BAY DOOR LEADING TO THE REAR OF THE FACILITY SITS
AND WHERE IT IS KNOWN TO BE A LOADING DOCK AREA), | RECORDED THE RECORDING ON MY CELL PHONE TO
PRESERVE IT IN CASE IT WAS LOST, [ REQUESTED TO VIEW ANOTHER DAY AND TIME AND THE SYSTEM CRASHED,
SEVERAL ATTEMPTS WERE MADE TO REBOOT THE SYSTEM TO NO AVAIL.

AFTER | CO-OBERATED THE INFORMATION RECEIVED FORM THE Cl., | ADVISED OFFICER BELL TO BEGIN CHECKING
THE TAG AND HOLD SECTION FOR MARCH 14, TO.SEE IF THE COPPER WIRE SALE OBSERVED ON VIDEO WAS INDEED
TAGGED AND HELD. THE MATERIAL WAS NOT FOUND, EVEN AFTER DUMPING EVERY TAG AND HOLD BIN. | ASKED
ASLINGER IF HE HAD ANY COMMERCIAL ACCOUNTS ON FILE THAT COULD'VE SOLD THE MATERIAL, HE JUMPED UP
EXCITEDLY, AS IF HE HAD AN EPIPHANY, AND SAID, "YES, HANG ONI" ASLINGER WOULD RETURN A FEW MINUTES
LATER WITH A TICKET FORA COMMERCIAL ACCOUNT. HE HAND ME THE TICKET AND TOLD ME THAT WAS PROOF OF
THE SALE. THE TICKET ASLINGER PROVIDED WAS FOR A TRANSACTION THAT OCCURRED AROUND 4:00PM. 1
REQUESTED THE TICKET FOR THAT SPECIFIC TRANSACTION AND ASLINGER WAS UNABLE TO PRODUCE IT.

1 ISSUED FOUR ORDINANCE VIOLATIONS TO GREGORY ASLINGER (FAILURE TO TAG AND HCLD, FAILURE TO RECORD
LICENSE PLATE NUMBERS, AND FAILURE TO PRODUCE REQUESTED RECORDS). ATTORNEYS ARRIVED AT THE
LOCATION AND | ADVISED THEM ON THE SITUATION. | ALSO PRESENTED THEM WITH THE SEARCH WARRANT FOR 4330
INDUSTRIAL.

OFFICER BELL AND | PROCEEDED TO 1330 INDUSTRIAL TO CONDUCT A SEARCH OF THE LOCATION, MEETING WITH
SERGEANT CHAPA AND OFFICER ZBERKOT. UPON ARRIVAL | BEGAN INSPECTING THE PREMISES. DTE INVESTIGATOR
DEREK HASSAN WAS PRESENT WITH ME, | OBSERVED SEVERAL BINS CONTAINING WHAT APPEARED TO BE GUTDOOR
WEATHERED 4/0 COPPER WIRE. THIS WIRE HAS BEEN CONSISTENTLY REPORTED STOLEN BY PUBLIC LIGHTING

‘DEPARTMENT DETROIT, | CALLED FOR PLD ASSISTANCE AND BILL SPITZ MADE THE SCENE. UPON HIS INSPECTION HE

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WAS UNSURE WHAT HE WAS LOOKING AT, IT WAS CLEAR THAT HIS KNOWLEDGE WAS LIMITED AS HE INDICATED THAT
DTE ENERGY ONLY USES 1/0 AND 3/0 COPPER WIRE (I KNOW THIS IS A FALSE STATEMENT SASED ON MY EXPERIENCE
AND THE FACT THAT SEVERAL THEFTS OF 4/0 COPPER WIRE HAVE BEEN REPORTED BY DTE ENERGY AND I RECENTLY
HELD A SAMPLE OF THE SAME WIRE}. | LOOKED THROUGH SEVERAL BINS AFTER EMPLOYEES DUMPED THEM AND
PULLED THE 4/0 COPPER CABLE FROM THE BINS. DURING THE SEARCH OF THE DUMPED BINS, BILL SPITZ DID
RECOGNIZE SEVERAL COPPER WIRE CABLES THAT HE INDICATED ARE FOUND INSIDE PLD SUBSTATIONS (PLD HAS
REPORTED SEVERAL SUCH THEFTS RECENTLY), THOSE PIECES WERE SEIZED AND LATER PLACED ON EVIDENCE,
WHILE THE SEARCH WAS BEING GONDUCTED ASLINGER ARRIVED AT THE WAREHOUSE AND REMAINED UNTIL THE
SEARCH WAS OVER. | PREPARED THE SEARCH WARRANT RETURN AND PRESENTED THE DOCUMENT TO ASLINGER
FOR HIS REVIEW AND SIGNATURE, | ADVISED ASLINGER OF THE DATES OF VIDEO SURVEILLANCE | NEEDED FROM
SOUTHWEST METALS. ASLINGER ASSURED ME THAT THE VIDEO WOULD BE EXTRACTED AND AVAILABLE TO BE
PICKED UP ON SATURDAY, MARCH 22, 2014. VIDEO WAS ALSO ORDERED IN THE SEARCH WARRANT FOR 1330
INDUSTRIAL AND WAS NOT PRODUCED AT THE TIME OF THE SEARCH WARRANT EXECUTION. | WILL BE FOLLOWING
UP WITH THAT REQUEST ON MARCH 24, 2014. IT SHOULD BE NOTED THAT ASLINGER WAS ON THE PHONE WITH JOE
FAWAZ THROUGHOUT THE INSPECTION AND-SEARCH, ON SEVERAL OCCASIONS | HEARD HIS VOICE ON THE CTHER
END OF THE PHONE AS ASLINGER WAS NEAR ME WHEN ANSWERING THE CALLS.

A SEARCH OF THE TRAILER SEIZED WILL COMMENCE ON MONDAY, MARCH 24, 2014 TO DETERMINE WHAT STOLEN
MATERIAL IS ON BOARD. THE SEMI TRUCK WAS HEADED TO INDIANA WITH THE COPPER WIRE FROM 1330 INDUSTRIAL.

0: ABOVE

T: ET#E43218704; SEMI TRUCK CONT'G COPPER WIRE AND OTHER COPPER MATERIAL
ET#E43216804: UNDERGROUND CABLE APPRX 6" IN LENGTH, LEAD ENCASED
ET#E43218904; PHOTO OF PAPER COVERED 4/0 OILY COPPER WIRE 12" SECTION (DTE WIRE)
ET#E43219004; (1) CARDBOARD BOX CONT'G 4/0 & SUSPECTED SUBSTATION WIRE
ET#E43219104; (1) FIBERGLASS BOX CONT'G 4/0 COPPER

Offense Detail: 2804 - STOLEN PROPERTY - POSSESSING

Offense Description
IBR Code

IBR Group

Crime Against
Offanse File Class
PACC

Local Code

Using

Criminal Activity
Weapons

Suspect $1:

2804 - STOLEN PROPERTY - POSSESSING

280 - STOLEN PROPERTY Location §=—§ - OTHER

OFFENSES

A Offense Compleled? YES No. Prem, Entered
PR Hate/Blas = 00 - NONE (NO BIAS) Entry Method
28000 - STOLEN PROPERTY Domastic Violence =O Typo Security

Tools Used

B - BUYING/RECEIVING

ASLINGER, GREGORY

Suspect Number
Name

AKA

Alert(s)

Address
csz

Home Phone
Work Phone
Email Address

Scars/Marks/Tattoos

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$1 DOB Place of Birth
ASLINGER, GREGORY Age 60 SSN
Sex M-MALE DLN
Race =W.WHITE DLN State
Ethnicty J ~ UNKNOWN DEN Country
Ht. Occupation/Grade
Wi, Emptoyer/Schoat
Eye Color Employer Address
Hair Color . Employer CSZ
Halr Style Res. County
Hair Length Res. Country
Facial Hair Resident Status ~=§ . RESIDES IN THE
STATE BUT NOT THE
COUNTY OR
COMMUNITY WHERE
THE OFFENSE
OCCURRED
Complexion

Bultd
Teeth

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